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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                    Case No. 0:19-cv-60752-RAR


  BRENDA BELL, individually and on behalf
  of all others similarly situated,

         Plaintifff,                                      CLASS ACTION

  v.

  ROYAL SEAS CRUISES, INC., a Florida
  corporation,

         Defendant.
                                                  /


           PLAINTIFF’S OBJECTION TO REPORT AND RECOMMENDATION

         Plaintiff Brenda Bell (“Plaintiff” or “Bell”) hereby files her Objection to Magistrate

  Judge Jared M. Strauss’s Report and Recommendation (hereafter “Report”) filed with the Court

  on May 13, 2020. (Dkt. 42.) As the basis for her objection, Plaintiff states as follows:

  I.     INTRODUCTION

         Plaintiff respectfully objects to the Report to the extent that Magistrate Judge Strauss

  found as a matter of law that the website through which Defendant Royal Seas Cruises, Inc.

  (“Defendant” or “Royal Seas”) claims to have obtained Plaintiff’s consent used language

  sufficient to manifest assent to automated calls.1 In doing so, Magistrate Judge Strauss rejected

  application of the Anand case, which considered nearly identical website language and layout as


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   As the Magistrate Judge recognized, Plaintiff denies visiting the website identified by Plaintiff.
  Analysis of the website language presumes arguendo that Bell did visit the website, but she
  maintains her testimony and does not make any such concession.

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  the website at issue in this case. Plaintiff takes issue with the Report’s conclusion on this point,

  and the rejection of Anand, for several reasons. First, Magistrate Judge Strauss disregarded

  Anand in part because it did not apply Florida law; however, in determining which state’s law

  should apply to this matter, there is little support for deciding this case according to Florida law.

  Second, and even if Florida law were applicable to this case, the basic elements of notice and

  manifestation of assent must be present, and while the Anand and the MetroPCS case relied on in

  the Report both agree on these elements, MetroPCS assumed and otherwise overlooked the

  assent requirement when considering a browsewrap agreement from a service provider. In any

  event, doubt should be resolved in favor of Plaintiff as the non-movant, not in favor of

  Defendant seeking to bind Plaintiff with arbitration to which she credibly disputes agreeing.

         Not only does Anand more fully consider the elements of notice and assent, but it is

  directly on point in analyzing a website design that is “virtually indistinguishable” from the

  design at issue in this case. Accordingly, the Court should not disregard the Anand case and its

  analysis, and the Court should reject the finding of Magistrate Judge Strauss that any visitor to

  the website would have assented to the arbitration agreement as a matter of law.

  II.    BACKGROUND

         On November 6, 2018, Plaintiff received an unsolicited call from Royal Seas on her

  cellphone, which included a prerecorded voice message. (Compl., dkt. 1, at ¶ 19.) During the

  call, Plaintiff asked the Defendant to stop calling her. (Id.) Nevertheless, Plaintiff continued to

  receive calls from Royal Seas, originating from a variety of phone numbers. (Id. ¶ 20.) Plaintiff

  had previously registered her phone number on the National Do Not Call Registry, and she did

  not consent to the calls from Royal Seas. (Id. ¶¶ 18, 22.) In order to redress her injuries and stop




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  the calls, Plaintiff filed the Complaint on March 22, 2019, on behalf of herself and classes of

  similarly situated individuals. (Id. ¶ 26.)

          On June 25, 2019, Royal Seas moved to compel arbitration. (Dkt. 16) In support,

  Defendant pointed to a “visitor to a Fluent website,” specifically

  www.consumerproductsusa.com (“the website”), who submitted an entry on September 11,

  2018, for an online sweepstakes using Plaintiff’s name, phone number, and other personal

  information related to Plaintiff. (Bhadania Affidavit, Dkt. 16–1, at ¶¶ 6, 11–12.) The visitor

  supposedly clicked through the website, including a page that linked to terms and conditions

  containing an arbitration agreement. (Id. ¶¶ 7–9.) The terms and conditions refer to users of

  RewardZoneUSA.com, NationalConsumerCenter.com, and “other websites” operated by

  RewardZone USA, LLC (“RewardZone”). (ECF 16-2, at 2.) Royal Seas seeks to enforce the

  mandatory arbitration clause as a “marketing partner” under the RewardZone terms and

  conditions. (ECF 16, at 2.) Plaintiff has testified that she never visited the website or authorized

  anyone to do so on her behalf. (Declaration of Brenda Bell, Dkt. 26-1.)

          After considering Defendant’s motion and Plaintiff’s response, Magistrate Judge Strauss

  issued his Report, recommending that the motion be denied without prejudice pending a bench

  trial on the limited issue of whether Plaintiff visited the website. (Report, Dkt. 42 at 1.)

  Magistrate Judge Strauss approached analysis in three parts: first, he reasoned that the question

  of whether the parties agreed to arbitrate was appropriately before the Court (rather than an

  arbitrator), but deferred to the arbitrator on the question of whether Defendant is a third party

  who could enforce any such agreement. (Id. at 7–10.) Second, Magistrate Judge Strauss found

  that the website’s language was sufficient to bind visitors to the terms and conditions, and he

  concluded as a matter of law that there was no genuine dispute of material fact as to whether a



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  party who clicked “continue” assented to the terms. (Id. at 10–16.) Third, Magistrate Judge

  Straus found a genuine dispute of material fact as to whether Plaintiff actually visited the website

  and recommended a bench trial on the matter before determining whether Bell could be

  compelled to arbitrate her claims. (Id. at 16–17.)

  III.    ARGUMENT

          A.      Plaintiff Objects To Magistrate Judge Strauss’s Rejection Of Anand And
                  Conclusion As A Matter Of Law That The Website Language Was
                  Sufficient.

          As stated above, Plaintiff does not object to Magistrate Judge Strauss’s finding that a

  bench trial is warranted on the issue of whether Bell visited the website or his decision to defer

  to the arbitrator (if there should be one) on certain issues. Plaintiff objects to the Report to the

  extent that Magistrate Judge Strauss disregarded the Anand case and found as a matter of law

  that the website’s design and language was sufficient to bind visitors to arbitration. For the

  reasons stated below, the Report’s recommendation on this point should be rejected.

                  1.      There is no justification for restricting analysis of Plaintiff’s claims to
                          Florida contract law.

          As his final, but “most important[],” justification, Magistrate Judge Strauss found that

  Anand should not be followed here because it applied Illinois law rather than Florida law.

  However, no consideration was made in the Report as to whether Florida law should, in fact,

  apply to this case. As explained below, it should not.

          Though the heart of Plaintiff’s claims is a federal statute, the issue before the Court is one

  of contract formation, which is a matter of state law. As the forum state, Florida’s choice of law

  rules apply—to determine which state's laws applies to a contract, Florida has long adhered to

  the rule of lex loci contractus. U.S. Fid. & Guar. Co. v. Liberty Surplus Ins. Corp., No. 606CV-

  1180-ORL-31UAM, 2007 WL 3024345, at *2 (M.D. Fla. Oct. 15, 2007). This doctrine specifies

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  that the law of the jurisdiction where the contract was executed should control. Sturiano v.

  Brooks, 523 So. 2d 1126, 1129 (Fla. 1988). “When parties come to terms in an agreement, they

  do so with the implied acknowledgment that the laws of that jurisdiction will control absent

  some provision to the contrary.” Id.

         Here, there are no facts to support applying Florida contract law to this matter. As a

  reminder, Plaintiff denies visiting the website and entering into any agreement at all.

  Nevertheless, Bell resides in Springfield, Ohio. (Dkt. 1 at ¶ 6.) If she had visited the website, she

  would have done so in Ohio, not Florida. Further, because of the nature of an internet contract, it

  is unclear where the other party to the supposed contract would have been located. The company

  that Defendant contends is responsible for the website, Fluent, LLC (“Fluent”), is registered in

  New York. Additionally, the “agreement” at issue specifies that New York law would govern the

  contract. (Dkt. 16-2 at 6.) Thus, arguments could be made for the application of Ohio contract

  law or New York contract law, but there is no justification for deciding this issue as a matter of

  Florida state law.

         Magistrate Judge Strauss erred in applying Florida law to this matter; more specifically,

  he erred in doing so to the exclusion of Anand, a case directly on point to the website language

  and design at issue here. The Court should not repeat this error.

                 2.      While MetroPCS and Anand agree on the basic principles of internet
                         contract formation, MetroPCS failed to adequately address assent—
                         the element that defeated formation in Anand when considering a
                         website layout “virtually identical” to that in this case.

         Despite any confusion as to which state law should apply, the resulting analysis should

  not change. The basic elements of contract formation remain the same, whether considering

  MetroPCS, Anand, or cases from other states. However, Magistrate Judge Strauss’s reliance on

  MetroPCS for a differing result than that reached in Anand reveals an error of analysis: the

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  MetroPCS decision failed to fully address the element of assent. This is a critical component of

  contract formation under any applicable laws, and it is what resulted in the finding in Anand that

  the website language—which was “virtually identical” to that used here—was insufficient to

  bind visitors.

           In Florida, the key elements of internet contract formation are notice and manifestation of

  assent. MetroPCS Commc’ns, Inc. v. Porter, 273 So. 3d 1025, 1028 (Fla. Dist. Ct. App. 2018).

  These elements are hardly unique to Florida law: in the Anand case cited by Plaintiff, which

  applied Illinois substantive law, the same elements were considered. See Anand v. Heath, No.

  19-CV-00016, 2019 WL 2716213, at *3 (N.D. Ill. June 28, 2019). These elements are generally

  required across the country. See, e.g., Nicosia v. Amazon.com, Inc., 384 F. Supp. 3d 254, 265–67

  (E.D.N.Y. 2019) (applying same analysis as Anand to hybridwrap under Washington state law);

  Hodosh, Lyon & Hammer, Ltd. v. Barracuda Networks, Inc., No. CV 15-316S, 2016 WL

  705272, at *5 (D.R.I. Jan. 4, 2016) (finding that both California and Rhode Island drew on the

  Second Circuit opinion2 requiring notice and manifestation of assent in online contracts); Snap-

  On Bus. Sols. Inc. v. O'Neil & Assocs., Inc., No. 5:09-CV-1547, 2010 WL 2650875, at *1 (N.D.

  Ohio July 2, 2010) (finding browsewrap agreement invalid under Ohio law for failing to require

  users to “manifest their acceptance of—or even view” the terms in question).

           Though MetroPCS did not use the term “hybridwrap,” the Florida court did agree with

  Anand that some agreements “do[] not fit precisely within either category” of browsewrap or

  clickwrap. MetroPCS, 273 So. 3d at 1028. Whether referred to as hybridwrap or “near the

  center” of the two categories (see dkt. 42 at 13), notice and manifestation of assent must still be

  found.


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      Specht v. Netscape Commc'ns Corp., 306 F.3d 17 (2d Cir.2002)

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          In MetroPCS, however, the court did not adequately analyze assent. After laying out the

  two critical issues, it focused primarily on notice and ultimately concluded that the plaintiff

  agreed to arbitrate because he “was put on notice that his contract with MetroPCS was subject to

  arbitration.” MetroPCS, 273 So. 3d at 1029. The Florida court addressed assent only in a

  footnote, stating in passing that the plaintiff’s continued use of cell phone service manifested

  assent to the terms. Id. at 1028, n. 1. This analysis is of little use in this case, as Plaintiff has no

  such relationship or service contract with Defendant or Fluent that would obviate the need to

  clearly indicate assent.

          In Anand, on the other hand, the Northern District of Illinois engaged in a more robust

  analysis of the manifestation of assent that is required to bind parties to a hybridwrap (or less

  than clickwrap) agreement. There, assent was not sufficiently demonstrated because “nothing

  expressly linked the website’s ‘I understand and agree…’ language to the ‘Continue’ button.”

  Anand, 2019 WL 2716213, at *4. Even though the plaintiff in Anand clicked a button to

  continue, the website did not include any notice or explanation that doing so constituted assent or

  that continuing on the site was conditioned on assent. Id. “[T]he mere proximity of a terms and

  conditions hyperlink to a button that the user must click to proceed does not equate to an

  affirmative manifestation of assent to the terms and conditions.” Id. (emphasis added). Anand is

  not alone in taking this approach. See Nicosia, 384 F. Supp. 3d at 266 (citing cases from federal

  district courts in Texas, South Carolina, New York, Washington, D.C., Illinois, and California).

          This analysis applies directly to the case at hand, as the website supposedly visited by

  Plaintiff featured the same language and layout—as Magistrate Judge Strauss admits, the

  website design employed by Defendant and Fluent in this case is “virtually indistinguishable”




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  from that which was at issue in Anand. (Dkt. 42 at 14.) Notwithstanding the nearly identical

  design, the Report “respectfully disagrees with Anand” and recommends deviation. (Id. at 15.)

         Despite the Magistrate Judge’s recommendation, Anand is instructive and should not be

  disregarded for three reasons: (1) it focuses on the same basic contract elements as would be

  applicable under Florida law and the law of many other states—notice and manifestation of

  assent; (2) its analysis of assent is thorough, where MetroPCS merely assumed assent in a

  footnote due to a continued relationship; and (3) the website design that was meticulously

  reviewed in Anand is “virtually indistinguishable” from that at issue here. It is not only critically

  instructive, but directly on point in considering whether this particular website layout and

  language satisfies the element of manifestation of assent. Whether considered under Florida law

  or the law of another state, the elements of online contract formation remain the same, and the

  Magistrate Judge’s rejection of Anand should not be accepted by the Court.

                 3.      As the non-movant, Plaintiff is entitled to the benefit of doubt—the
                         Court should not resolve a formation dispute as a matter of law in
                         favor of Defendant.

         In concluding that there was no material dispute as to whether a visitor to the Fluent

  website manifested assent to its terms and conditions—and deciding as a matter of law that there

  would be no formation issues if Plaintiff were found to have visited the website—Magistrate

  Judge Strauss resolved doubt and legal uncertainty in favor of Defendant, the party seeking to

  bind Bell to arbitration. Such resolution runs contrary to the law. Plaintiff is entitled to the

  benefit of all reasonable doubts that arise, and the Court should not accept the Report’s

  recommendation otherwise.

         As outlined in Plaintiff’s response to the motion to compel arbitration, “parties cannot be

  forced to submit to arbitration if they have not agreed to do so.” Magnolia Capital Advisors, Inc.



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  v. Bear Stearns & Co., 272 Fed. Appx. 782, 785 (11th Cir. 2008) (quoting Chastain v. Robinson-

  Humphrey Co., 957 F.2d 851, 854 (11th Cir. 1992)). A district court considering whether the

  parties actually agreed to arbitrate “should give to the [party denying the agreement] the benefit

  of all reasonable doubts and inferences that may arise.” Magnolia, 272 Fed. Appx. at 786 (citing

  Par-Knit Mills, Inc. v. Stockbridge Fabrics Co., 636 F.2d 51, 54 (3d Cir. 1980)).

         On the question of whether Plaintiff visited the website, the Report does give Plaintiff the

  benefit of reasonable inferences, finding that there is a “genuine dispute of material fact”

  sufficient to warrant a bench trial. However, on the issue of the website design and any

  manifestation of assent, Magistrate Judge Strauss resolved his doubts about sufficiency in favor

  of Defendant and finding an agreement, rather than Bell as the non-movant.

         At several points in the report, Magistrate Judge Strauss acknowledges that the website

  lacks the indicia of a binding internet agreement as identified in Anand and Nguyen v. Barnes &

  Noble Inc., 763 F.3d 1171, 1177 (9th Cir. 2014):

             •   “[T]he user is not required to check an acknowledgement box to accept the Terms

                 and Conditions…” (Dkt. 42 at 14.)

             •   “The statement here does not explicitly indicate that clicking Continue is the

                 affirmative act by which the user would manifest her acknowledgement of the ‘I

                 understand and agree’ statement. But its placement directly over the Continue

                 button . . . would strongly imply to a reasonable user a connection between the ‘I

                 understand and agree’ statement and clicking Continue.” (Id.) (emphasis added).

             •   “The key to Anand’s conclusion was that the ‘I understand and agree’ language,

                 though placed directly above, the ‘Continue’ button, did not expressly tell the user

                 that clicking ‘Continue’ would manifest assent.” (Id. at 15.)


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              •   “Nguyen did note that ‘the proximity or conspicuousness of the hyperlink

                  alone is not enough to give rise to constructive notice’ without language

                  indicating that some affirmative action will constitute assent to hyperlinked

                  Terms and Conditions.” (Id.) (emphasis added).

              •   “[A]lthough explicit language stating ‘By clicking Continue I understand and

                  agree . . .’ would have given the user even clearer notice, the logical

                  implication of the ‘I understand and agree’ language being placed directly above

                  the Continue button is sufficiently strong that a reasonable user would understand

                  the effect of pressing Continue.” (Id.) (emphasis added).

          At the very least, Magistrate Judge Strauss’s admitted “disagree[ment]” with these

   standards represents a level of legal or factual uncertainty. (Id. at 15.) Indeed, as noted in the

   above quotations, the Report relies on what the layout supposedly “strongly impl[ies]” and its

   “logical implication” more than what it actually communicates—or fails to communicate—to the

   website users. (Id. at 14, 15.) Rather than giving the benefit of reasonable doubt to Plaintiff as

   the non-movant, the Report resolves doubt in favor of Defendant and finds as a matter of law

   that the design is sufficient. In other words, the Magistrate Judge’s recommendation is that the

   Court ignore Fluent’s failure to tell visitors that clicking “Continue” manifests assent to

   arbitration and other terms, even though multiple courts have specified that clear language

   characterizing a user’s action as manifestation of assent is required.

          Magistrate Judge Strauss’s conclusion that the website adequately secures assent “as a

   matter of law” is not based on the instructive analysis of other courts, but in spite of it.

   Reasonable doubts or inferences on this issue should not be resolved in favor of Defendant, as




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   the movant seeking to deprive Plaintiff of her day in court. This recommendation should be

   rejected.

   IV.    CONCLUSION

          Plaintiff Brenda Bell respectfully objects to Magistrate Judge Strauss’s Report and

   Recommendation to the extent that it rejects the standard applied in Anand in favor of the

   incomplete analysis conducted in MetroPCS. Accordingly, Plaintiff asks that the Court reject the

   Report’s findings on this issue, deny Defendant’s Motion to Compel Arbitration and Dismiss the

   Complaint, and grant any other relief the Court deems necessary and just.



   DATED: May 26, 2020                                 Respectfully submitted,


                                                       /s/     Ryan S. Shipp
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                                   CERTIFICATE OF SERVICE

          The undersigned hereby certifies that on May 26, 2020, I served the above and foregoing

   papers by causing such paper to be filed with the Court using the Court’s electronic filing

   system, which will send copies of such paper to all counsel of record.

                                                                /s/ Ryan Shipp




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